                                                                                   Case 5:05-cr-00715-JF           Document 94          Filed 02/06/06        Page 1 of 7



                                                                          1
                                                                          2
                                                                          3
                                                                          4                                                                                 *E-filed 2/6/06*
                                                                          5
                                                                          6
                                                                          7                                   IN THE UNITED STATES DISTRICT COURT
                                                                          8                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          9                                                SAN JOSE DIVISION
                                                                         10   UNITED STATES OF AMERICA,                                     Case No. CR05-00715 JF (HRL)
                                                                         11                      Plaintiff,                                 ORDER GRANTING MOTIONS TO TAKE
United States District Court




                                                                                                                                            VIDEO DEPOSITIONS OF MATERIAL
                               For the Northern District of California




                                                                         12               v.                                                WITNESSES AND DENYING MOTIONS
                                                                                                                                            FOR FOREIGN DEPOSITIONS AFTER
                                                                         13   XIOA FENG SHEN, et al.,                                       IMMEDIATE RELEASE
                                                                         14                      Defendants.                                [Re: Miscellaneous Case Nos.:
                                                                         15                                                                 CR05-90499 Misc. HRL
                                                                                                                                            CR05-90500 Misc. HRL
                                                                         16                                                                 CR05-90501 Misc. HRL
                                                                                                                                            CR05-90502 Misc. HRL
                                                                         17                                                                 CR05-90503 Misc. HRL
                                                                                                                                            CR05-90504 Misc. HRL
                                                                         18                                                                 CR05-90505 Misc. HRL
                                                                                                                                            CR05-90506 Misc. HRL
                                                                         19                                                                 CR05-90507 Misc. HRL
                                                                                                                                            CR05-90512 Misc. PVT]
                                                                         20
                                                                                                                                            [Re: Docket Nos.44, 51, 52, 53, 54, 58, 60,
                                                                         21                                                                 65, 72, 86, 87]
                                                                                                                                 /
                                                                         22
                                                                         23   I.          INTRODUCTION
                                                                         24               Detained material witnesses move this court pursuant to 18 U.S.C. § 3144 and Fed. R.
                                                                         25   Crim. P. 15, to order the immediate taking of their depositions and their release from custody.1
                                                                         26   Witnesses Jie Hua Huang and Chiu Lin Tsin further move, as a preferred alternative, as follows:
                                                                         27   (1) to allow the taking of their depositions in Taiwan; (2) to reconsider the court's earlier orders
                                                                         28
                                                                                      1
                                                                                       This order applies to the following Material Witnesses: Yu Ying Lin, Mei Ching Chien, Hui Chuin
                                                                              Wu, Jie Hua Huang, Wen Chi Chen, Xio Lin Lin, Pi Lien Chen, Yueh O. Huang, Chiu Lin Tsin, and Kyung
                                                                              Moon.
                                                                                 Case 5:05-cr-00715-JF              Document 94            Filed 02/06/06       Page 2 of 7



                                                                          1    to detain them as material witnesses; (3) for a hearing on the merits of whether they are truly
                                                                          2    material witnesses as defined by § 3144; and (4) for their immediate release. At least some of
                                                                          3    the defendants oppose the motions.2 The United States filed a "Qualified Non-Opposition" to
                                                                          4    the motions. It does not oppose the taking of material witness depositions by the end of
                                                                          5    February, but it does oppose their immediate release from custody before their testimony is
                                                                          6    secured. The parties appeared for a hearing on the motion on February 1, 2006. Based on the
                                                                          7    papers submitted and the arguments of counsel, the court issues the following order.
                                                                          8    II.     BACKGROUND
                                                                          9            Defendants Xiao Feng Shen, Yan Song, Ming Sun, Jia Jing Chu and Ai-Ching Chang
                                                                         10    are charged with harboring illegal aliens in violation of 8 U.S.C § 1324(a)(1)(A). On October
                                                                         11    26, 2005, federal agents executed a search warrant in connection with the arrest of these
United States District Court
                               For the Northern District of California




                                                                         12    defendants. Several women found at the location of the search were taken into custody by the
                                                                         13    Immigration and Customs Enforcement Agency. On November 1, 2005, this court issued
                                                                         14    material witness warrants for the arrest of the women. Two similar warrants were issued by
                                                                         15    Magistrate Judge Trumbull a few days later.
                                                                         16            The warrant applications stated that the women qualified as material witnesses under 18
                                                                         17    U.S.C § 3144 because (1) their testimony is material to a criminal proceeding; and (2) it may
                                                                         18    become impracticable to secure their presence by subpoena. Special Agent Van Dyke's
                                                                         19    affidavit in support of the warrants stated that the women were suspected of working as
                                                                         20    prostitutes for the defendants, that they may be illegally in the United States, and that their
                                                                         21    passports were found in Shen's possession.
                                                                         22            The witnesses were not granted bond because deportation proceedings would have
                                                                         23    begun immediately. Instead, they were detained at halfway houses around the Bay Area, where
                                                                         24    they have been living under restrictive conditions since early November. At least one witness
                                                                         25    has since been allowed to reside with friends in the Los Angeles area.
                                                                         26
                                                                         27           2
                                                                                        Only Ming Sun and Xiao Feng Shen formally oppose the motion. None of the defendants have filed
                                                                              any papers since the last hearing. At this hearing, no defense counsel claimed more time was needed to review
                                                                         28   discovery. Although there are nearly 10,000 pages of discovery in this case, the witness statements make up
                                                                              only 150 pages. The bulk of discovery consists of bank and phone records.

                                                                                                                                       2
                                                                                Case 5:05-cr-00715-JF          Document 94          Filed 02/06/06     Page 3 of 7



                                                                          1          At the hearing on this motion, the court was informed that defendant Ming Sun had just
                                                                          2   entered a guilty plea. AUSA Torpoco and counsel for the other defendants represented that
                                                                          3   they were also engaged in plea negotiations and that they anticipated resolution of the case
                                                                          4   through plea bargains in the coming weeks.
                                                                          5   III.   LEGAL STANDARD
                                                                          6          The statute governing the detention of material witnesses, 18 U.S.C. § 3144, provides
                                                                          7   for the arrest of a material witness if "it appears from an affidavit filed by a party that the
                                                                          8   testimony of a person is material in a criminal proceeding and if it is shown that it may become
                                                                          9   impracticable to secure the presence of the person by subpoena." But, the statute also limits the
                                                                         10   governments' ability to detain such a witness indefinitely:
                                                                         11          No material witness may be detained because of inability to comply with any
United States District Court




                                                                                     condition of release if the testimony of such witness can adequately be secured
                               For the Northern District of California




                                                                         12          by deposition, and if further detention is not necessary to prevent a failure of
                                                                                     justice. Release of a material witness may be delayed for a reasonable period of
                                                                         13          time until the deposition of the witness can be taken pursuant to the Federal
                                                                                     Rules of Criminal Procedure.
                                                                         14
                                                                              18 U.S.C. § 3144. Pursuant to Federal Rule of Criminal Procedure 15(a)(2), a material witness
                                                                         15
                                                                              may make a motion requesting such a deposition:
                                                                         16
                                                                                     A witness who is detained under 18 U.S.C. § 3144 may request to be deposed by
                                                                         17          filing a written motion and giving notice to the parties. The court may then order
                                                                                     that the deposition be taken and may discharge the witness after the witness has
                                                                         18          signed under oath the deposition transcript.
                                                                         19          The Ninth Circuit has held that, despite the permissive language of Fed. R. Crim. P. 15,
                                                                         20   upon a showing by the material witness that (1) her testimony can be adequately secured by
                                                                         21   deposition, and (2) that further detention is not necessary to prevent a failure of justice, "the
                                                                         22   district court must order [her] deposition and prompt release." Torres-Ruiz v. United States
                                                                         23   District Court, 120 F.3d 933, 935 (9th Cir. 1997) (emphasis in original), citing Augilar-Ayala v.
                                                                         24   Ruiz, 973 F.2d 411 (5th Cir. 1992).
                                                                         25          Finally, the "alien harboring" statute under which the defendants have been charged, 8
                                                                         26   U.S.C. 1324, explicitly contemplates the possibility that witnesses to the crime may be in the
                                                                         27   country illegally, and may not be available for testimony at trial:
                                                                         28


                                                                                                                                3
                                                                                 Case 5:05-cr-00715-JF               Document 94            Filed 02/06/06        Page 4 of 7



                                                                          1                Notwithstanding any provision of the Federal Rules of Evidence, the videotaped
                                                                                           . . . deposition of a witness to a violation of subsection (a) of this section who has
                                                                          2                been deported or otherwise expelled from the United States, or is otherwise
                                                                                           unable to testify, may be admitted into evidence in an action brought for that
                                                                          3                violation if the witness was available for cross examination and the deposition
                                                                                           otherwise complies with the Federal Rules of Evidence.
                                                                          4
                                                                               8 U.S.C. § 1324(d).
                                                                          5
                                                                               IV.         DISCUSSION
                                                                          6
                                                                                           A.     Deposition and Release under 18 U.S.C. § 1344
                                                                          7
                                                                                           The provisions of § 1344 and their application to this case are quite straight forward.
                                                                          8
                                                                               Once a material witness is arrested, she may not be detained if her testimony can be "adequately
                                                                          9
                                                                               secured by deposition and if further detention is not necessary to prevent a failure of justice."
                                                                         10
                                                                               Release may be delayed for a reasonable period of time until the deposition can be taken. Here,
                                                                         11
United States District Court




                                                                               the only barrier to the witnesses' deposition and release is the preparedness of defendants'
                               For the Northern District of California




                                                                         12
                                                                               counsel.3 Counsel have now had a month to review all of the discovery in this case and should
                                                                         13
                                                                               be adequately prepared to go forward with deposition. This court has been presented with no
                                                                         14
                                                                               facts that support the continued detention of the material witnesses.
                                                                         15
                                                                                           Moreover, many of the witnesses who have filed papers represent that they will leave
                                                                         16
                                                                               contact information with their attorneys so that they can be interviewed in the future, and that
                                                                         17
                                                                               they are willing to return to the United States to testify at trial.
                                                                         18
                                                                                           Finally, case law supports the prompt release of detained witnesses because it is simply
                                                                         19
                                                                               wrong to incarcerate someone who has not been charged with a crime. As the Fourth Circuit
                                                                         20
                                                                               recognized,
                                                                         21
                                                                                           [H]umanitarian considerations alone demand that something be done to release
                                                                         22                [the material witnesses] from incarceration, when their only purpose for being
                                                                                           incarcerated is to be witnesses. And whether they voluntarily flee after their
                                                                         23                depositions have been taken or whether INS deports them back to their countries
                                                                                           of origin is beside the point.
                                                                         24
                                                                         25            3
                                                                                        Some courts have attempted to separate out the Sixth Amendment Confrontation Clause issue of
                                                                              whether a witness's deposition will be admissible at trial from the § 3144 analysis. See United States v. Lai Fa
                                                                         26   Chen, 214 F.R.D. 578, 582 (N.D. Cal. 2003) ("[The admissibility of the deposition testimony at trial] is not
                                                                              before the court. The presiding district judge will ultimately decide the constitutional sufficiency of any
                                                                         27   proposed deposition testimony at trial."). However, common sense dictates that this consideration should come
                                                                              into play when evaluating whether the testimony of a witness can "adequately be secured by deposition." If the
                                                                         28   Confrontation Clause would prevent the admission of deposition testimony at trial, such testimony cannot be
                                                                              considered "adequately secured." This inquiry is presently before the court.

                                                                                                                                        4
                                                                                 Case 5:05-cr-00715-JF             Document 94            Filed 02/06/06       Page 5 of 7



                                                                          1    United States v. Rivera, 859 F.2d 1204, 1206 (4th Cir. 1988).
                                                                          2               B.     Motions to Allow the Taking of Depositions in Taiwan and to Challenge the
                                                                                                 Designation of the Movants as Material Witnesses.
                                                                          3
                                                                                          These additional motions, brought by Jie Hua Huang and Chiu Lin Tsin, make creative
                                                                          4
                                                                               legal arguments but are ultimately unconvincing.
                                                                          5
                                                                                          These witnesses argue that the ex parte applications filed by the government to detain
                                                                          6
                                                                               them as material witnesses were insufficient as a matter of law, because they did not allege that
                                                                          7
                                                                               the government would be unable to secure their appearance for deposition in Taiwan. The
                                                                          8
                                                                               witnesses cite the Mutual Legal Assistance Agreement (MLAA) between the United States and
                                                                          9
                                                                               Taiwan as evidence that the government could, if necessary, get the assistance of the Taiwanese
                                                                         10
                                                                               government in securing the witnesses' testimony.4 They argue that the MLAA, together with
                                                                         11
United States District Court




                                                                               the witnesses' assurances that they will be available for deposition in Taiwan, negate the court's
                               For the Northern District of California




                                                                         12
                                                                               finding that the witnesses meet the requirements of § 3144. Counsel further argue that the
                                                                         13
                                                                               government has presented no evidence that the witnesses' testimony is truly material to the case.
                                                                         14
                                                                                          This argument relies on a strained interpretation of § 3144. The statute has two parts.
                                                                         15
                                                                               The first part lays out the elements needed to arrest a material witness: "it appears from an
                                                                         16
                                                                               affidavit filed by a party that the testimony of a person is material in a criminal proceeding and
                                                                         17
                                                                               if it is shown that it may become impracticable to secure the presence of the person by
                                                                         18
                                                                               subpoena." The second part provides for the prompt release of a material witness "if the
                                                                         19
                                                                               testimony of such witness can adequately be secured by deposition."
                                                                         20
                                                                                          Movants' arguments condense these two parts into one. They argue that a person may
                                                                         21
                                                                               only be arrested as a material witness if (1) her testimony is material and (2) it cannot be
                                                                         22
                                                                               adequately secured by deposition. But this is not what the statute requires. Rather, the statute
                                                                         23
                                                                               permits the arrest of a witness if securing the person's presence by subpoena would be
                                                                         24
                                                                               impracticable. This standard was met by Agent Van Dyke's affidavit when it explained that the
                                                                         25
                                                                               witnesses would be deported if released. United States subpoenas have no force of law in
                                                                         26
                                                                         27
                                                                                      4
                                                                                         The MLAA does not have the force of a treaty because the United States and Taiwan do not have an
                                                                         28   official diplomatic relationship. The Agreement was entered between the American Institute in Taiwan and the
                                                                              Taipei Economic and Cultural Representative Office, the countries' unofficial diplomatic agencies.

                                                                                                                                      5
                                                                                Case 5:05-cr-00715-JF            Document 94             Filed 02/06/06      Page 6 of 7



                                                                          1   Taiwan. The existence of the MLAA does not change that fact. Accordingly, securing the
                                                                          2   presence of a witness located in Taiwan by subpoena meets the threshold requirement of
                                                                          3   "impracticability."
                                                                          4             Furthermore, § 3144 does not require an full evidentiary hearing to determine whether
                                                                          5   the statute applies in a particular case. Rather, only a showing by affidavit—what this court
                                                                          6   interprets as a "probable cause" standard—is required. This requirement has been satisfied in
                                                                          7   the present case and movants are not entitled to an evidentiary hearing on this issue.
                                                                          8   V.        ORDER
                                                                          9             Pursuant to the discussion above, the court grants the motions for the immediate taking
                                                                         10   of the material witness depositions, and orders that the depositions be completed by March 1,
                                                                         11   2006. Once the witnesses have been deposed and have signed their deposition transcript, they
United States District Court
                               For the Northern District of California




                                                                         12   may, on application, be released.
                                                                         13             The court denies the motions for (1) an order to take depositions in Taiwan; (2) an order
                                                                         14   overturning the earlier order to detain them as material witnesses; (3) a hearing on the merits as
                                                                         15   to whether or not the witnesses are actually material witnesses; and (4) an order immediately
                                                                         16   releasing the material witnesses from custody.
                                                                         17             If the remaining defendants in this case strike plea bargains with the government and
                                                                         18   resolve the underlying action before March 1, 2006, depositions of the material witnesses will
                                                                         19   obviously no longer be necessary. The court orders the parties to appear on February 15, 2006
                                                                         20   at 1:30 p.m. to update the court on the status of defendants' plea negotiations.5 If the case has
                                                                         21   been resolved, the government will orally move the court for an order quashing the material
                                                                         22   witness arrest warrants and for their immediate release. If the case has not been resolved, the
                                                                         23   court will address, if necessary, the actual scheduling of the depositions to be taken by March 1.
                                                                         24             IT IS SO ORDERED.
                                                                         25   Dated: 2/6/05                                                     /s/ Howard R. Lloyd
                                                                                                                                           HOWARD R. LLOYD
                                                                         26                                                                UNITED STATES MAGISTRATE JUDGE
                                                                         27
                                                                         28
                                                                                    5
                                                                                     Appearances by defendants and material witnesses at the February 15, 2006 hearing are excused.

                                                                                                                                     6
                                                                                Case 5:05-cr-00715-JF        Document 94        Filed 02/06/06     Page 7 of 7



                                                                          1   THIS SHALL CERTIFY THAT A COPY OF THIS ORDER WILL BE SENT TO:
                                                                          2   Daniel Lee Barton     dbarton@nablaw.com, lstenson@nablaw.com
                                                                              Rommel Bondoc         sdm819@sbcglobal.net, cmcshane@sbcglobal.net
                                                                          3   Barry L. Morris       barrymorris@mac.com
                                                                              Randy Sue Pollock     pollockesq@aol.com
                                                                          4   Edward Torpoco        Edward.Torpoco@usdoj.gov, mae.chu@usdoj.gov
                                                                              Vicki H. Young        vickihyoung@yahoo.com
                                                                          5   Marry E.Conn                   mary@santa-cruz-law.com
                                                                              Michelle D. Spencer   michellespencer@lawyer.com
                                                                          6   Jerry Fong            jf@careyandcareylaw.com
                                                                              Carleen. R. Arlidge   craatty@aol.com
                                                                          7   Thomas J. Ferrito     ferritolaw@mindspring.com
                                                                              Peter Leeming         paleeming@sbcglobal.net
                                                                          8   James Thompson        natjmt@earthlink.net
                                                                          9
                                                                              Tony Christensen
                                                                         10   360 W. Hedding St.
                                                                         11   San Jose, CA 95110
United States District Court
                               For the Northern District of California




                                                                         12   Geoffrey A. Braun
                                                                              81 Devine St.
                                                                         13   San Jose, CA 95110
                                                                         14
                                                                              Jack D. Gordon
                                                                         15   Gordon & Faris
                                                                              95 South Market Street, Suite 300
                                                                         16   San Jose, CA 95113
                                                                         17
                                                                              Richard Peyton Pointer
                                                                         18   Hinkle, Jachimowicz, Pointer & Mayron
                                                                              2007 W. Hedding Street, #100
                                                                         19   San Jose, CA 95128
                                                                         20
                                                                              Bruce C. Funk
                                                                         21   46 West Santa Clara Street
                                                                              San Jose, CA 95113
                                                                         22
                                                                         23   * Counsel are responsible for providing copies of this order to co-counsel.

                                                                         24   Dated: 2/6/06
                                                                                                                                    /s/ RNR
                                                                         25                                             Chambers of Magistrate Judge Lloyd
                                                                         26
                                                                         27
                                                                         28


                                                                                                                            7
